               Case 4:22-cr-00372 Document 3 Filed on 07/28/22 in TXSD Page 1 of 2
                                                                                United States Courts
                                                                              Southern District of Texas
          Sealed                                                                       FILED
Public and unofficial staff access
     to this instrument are                                                         July 28, 2022
                                   IN THE UNITED STATES DISTRICT COURT
   prohibited by court order
                                   FOR THE SOUTHERN DISTRICT OF TEXAS       Nathan Ochsner, Clerk of Court


          IN THE MATTER OF THE UNITED
          STATES OF AMERICA

          VS
                                                     Case No. ____________________
                                                              4:22-cr-372
          CALEB JORDAN MCCRELESS and
          CHRISTOHER LUKE MCGINNIS,                  Filed Under Seal
               Defendants.




                                MOTION TO SEAL INDICTMENT

               COMES NOW the United States of America, by and through Jennifer

         Lowery, United States Attorney, and Thomas H. Carter, Assistant United States

         Attorney, for the Southern District of Texas, and moves this Honorable Court to seal

         the indictment and attachments in this matter in support thereof, and would state the

         following:

               The indictment and the supporting documents contain information related to

         and the identity of the subjects of a criminal investigation, and information regarding

         an investigation involving an interstate investigation. This evidence can easily be

         relocated, destroyed or altered. The criminal acts being investigated and methods

         which are being employed to investigate the criminal activity are sensitive

         information. Public exposure of this information could compromise the

         investigation, the preservation of evidence, and arrest of the defendants.
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      WHEREFORE, the Government requests that the Indictment, supporting

documents and this document, be filed under seal for ninety (90) days, except for a

copy to the Affiant and investigating agency for their investigative needs and a copy

to execute the warrants.


                                             Respectfully submitted,

                                             JENNIFER LOWERY
                                             United States Attorney

                                             THOMAS H. CARTER
                                             Thomas H. Carter
                                             Assistant United States Attorney
                                             713-567-9470
